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EXHIBIT R
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Michael Allen

From:                              Timothy Jackson <shermanzelechin@gmail.com>
Sent:                              Friday, December 18, 2020 11:24 AM
To:                                Michael Allen
Subject:                           Exhibit R. Levi's email on Beethoven




---------- Forwarded message ---------
From: Walls, Levi <LeviWalls@my.unt.edu>
Date: Thu, Jul 23, 2020 at 2:11 PM
Subject: Re: [EXT] Re: Updates on articles, websites, and printing.
To: Timothy Jackson <shermanzelechin@gmail.com>


Dear Dr. Jackson,

    I attached the requested files. Ah, yes, I remember from my first semester at UNT that you were working
on the late quartets (op. 131, to be specific). That was back when I barely knew what Schenkerian analysis
was. Hard to believe it was only 4 years ago! Let's hope I come just as far in another 4 years.

    I'd be interested in seeing your Beethoven work, as with anything. Studying Beethoven will always be
important, even if I don't ever plan on presenting/publishing work on him. I always feel a little apprehension
at doing Beethoven research. He's been done so much over the years (for good reason, to be sure, as he is
without a doubt one of the greatest composers that ever lived). But still, I inwardly groan a little when I see
paper after paper on Beethoven at conferences. I think you know what I mean, since you were sitting right
next to me when I heard you say something to a similar effect in response to a Beethoven paper at TSMT
2018. But, I'm glad to see what you have to say since, as I said, it's very important to continue studying
Beethoven. Something new and valuable might come out of it, and it would be an awful shame if Beethoven
research stopped entirely.

     For my own part, I have a few projects going for the next conference season. I once wrote a paper about
finding a musical analogue to Transatlantic Modernism (the Imagist poets, plus the likes of T.S. Eliot and
Gertrude Stein). I had noticed that documentaries on these figures used a mixture of classical–romantic era
music and Coplandesque Americana, but I argued that it was the music of the second Viennese school that
really mirrors the Transatlantic Modernist aesthetic/philosophical views. And it should be the job of a
documentary to choose music that represents their subject's aesthetic/philosophical views, when that
documentary is on an artist. So I'm reworking that paper for a few American literature conferences. Then, I've
recently started thinking about writing a proposal for upcoming theory/musicology conferences that compares
formalism in music vs. formalism in literary theory. Confusingly, the two ideologies are complete opposites
when it comes to matters of interpretation. One of our main formalist representatives is Peter Kivy, whose
perspective is almost semiotically barren. On the other hand, the main representatives of formalism in literary
theory are the New Critics and the Russian Formalists, who are extremely flexible in regards to semiotics. In
part, the New Critics pushed Barthes' idea of the "death of the author," which I find indispensable to
interpretation (and Kivy found distasteful). I think that the underlying reasons for this disparity between
formalism in music and in literary theory will say something important about the ideological differences
between the two fields. But that project is in it's infancy, so we'll see what happens with it.
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     Ophelia is okay. She's getting so much smarter and her hand-eye coordination is improving a lot. If I put
her on my lap at the piano, she hits the keys with interest, which is very good for a four-month-old! A
surprising lack of change in the sleep department, though. But, at least I don't have to take care of her alone at
night anymore (at least, for the foreseeable future) because my wife's work schedule changed to daytime
shifts.

Regards,

     Levi Walls




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